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                                         May 30, 2024

Via ECF

The Honorable Judge Edward J. Davila
United States Northern District Court of California
450 Golden Gate Avenue
San Francisco, CA 94102

         Re: USA v. Duong [5:22-cr-00144-EJD]
             Letter for Hung Duong


Dear Judge Davila,

         Please find attached a letter from HUNG DUONG.

         Thank you.



                                             Sincerely,

                                                    /s/
                                             Christopher J. Cannon
                                             Attorney for HUNG DUONG

[Enc.]
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Hung Q Duong
5875 Charlotte Dr., Apt 320
San Jose, CA 95123
(669) 203-0883




May 29, 2024




The Honorable Edward J. Davila
United States District Judge
District Court for the Northern District of California
San Jose Division
280 South First St.
San Jose, CA 95113




Dear Judge Davila:

         Thank you, Your Honor for giving me the opportunity to write to you today and for taking
up everyone’s valuable resources and time because of my poor actions. I must have spoken or
prayed to you no less than a 100 times before today and have seen how all my emotions and
thoughts evolve over time. I am here today writing, both humbled and ashamed by what has
occurred, frightened by the wrath of the justice system, yet grateful at the same time that I may
finally put some closure to this terrible chapter in my life; and move forward towards the road of
redemption and earn back the right to feel unashamed and have some sense of meaningful
purpose. It is impossible to articulate all the mistakes I’ve made, the lessons that I’ve learned,
why I do not want to ever go through this again, what my core beliefs are, and my hopes for the
future in such a brief amount of time, but I will attempt to be as succinct as possible.

        To start off, I was stupid. I was so stupid. So so so stupid–stupid for committing the
crime, stupid for not being able to do the most fundamental thing as to say “no to drugs”, stupid
for not saying no to things against my beliefs, stupid for not walking away, stupid for not seeking
advice and/or legal advice when I didn’t know what to do, stupid for associating myself with
potentially wrong kinds of people, stupid for not seeing the signs, stupid for being curious about
the party life, stupid for putting my family in harm’s way, stupid for destroying my life and my
future, stupid for destroying my pristine record, reputation, and credentials, stupid for putting my
family in an insecure situation protectively and financially, stupid for being emotionally
unavailable the last couple of years, all because I made stupid choices, which there are no
excuses for it.
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        I wasn’t always like this. This is the first time I’ve been in trouble. I never even litter and
tell my son to do the same despite his observance that others do. This is also the first time
anyone in my family will be receiving a felony. I was raised strictly and was brutally punished for
making mistakes so I’ve always steered away from getting into trouble. Even as a child I was
indoctrinated to live up to my name which meant brave hero, where my father wanted me to be
successful and my mother wanted me to help save people. I was groomed to be honest,
sincere, empathetic, and one of the “good guys” and here I am today ruining my name and
everything I once represented.

         The last 2 yrs have been extremely punishing, perhaps more so on myself than anything
else. Not knowing the end result or end date, nor being able to make any financial or career
moves was distressing because I was stuck in a limbo, repeating the “I’m so stupid” mantra. I’ve
had to let the dropship business go. I’ve had many nightmares and feelings of despair and
re-living feelings of stupidity. Every day I would have some form of reminder in the form of
slamming into a random invisible mental brick wall that would instantly transport me back to
feeling despicable and regretful. Frankly, I felt there was no coming back from this debacle and
had returning thoughts of suicide. There’s no way I can possibly convey how severe and serious
I took this offense. However, the turning point for me was upon hearing of the hero’s journey, a
philosophical structure of a hero who goes through trials and tribulations and falls from grace
and having been humbled by it, gets reborn again and redeems himself for the mistakes he’s
done, and grows from it.

          I find it ironic that my path to self reflection included feeling like a hypocritical father. Here
it is, I’m trying to teach my son the reason he was in trouble for something because the choices
he made were poor. I would tell him “there are good choices and bad choices”; and although
bad choices gives something good short term, it will likely lead to something far worse later on,
like getting in trouble, making your parents look bad, making us feel betrayed, making us not
want to buy him a toy, and further punishment like the asian version of timeout. And if he
repeated his mistake, I would feel the frustration as a parent wanting so badly for him to learn
from his mistake, so that he would have a good future. I remember crying, telling him that when
children make mistakes it’s ok if you can learn from it, because if you make mistakes as adults,
it’s much more severe and you can go to jail, and I didn’t want him to go to jail. Desperately
doing the research, I found that locking him up in his room wouldn't necessarily be the most
conducive for his development, but rather, to find out his motivations and build upon that. It’s
uncanny how I could feel and see from the court’s eyes the intention was not to punish, but to
set me on the path of the best potential outcome from all this.

        During my course of self-reflection, I inquired the meaning behind everything–my path,
my purpose. It became very clear to me that God was telling me I was heading the wrong path,
or I was getting to know the wrong people, and I needed to dramatically change course. I have
realized that I do not like living life in fear nor paranoia. I would like to live with a peace of mind
and focus on strong fundamentals and not a house of cards. I do not want to follow this road of
embarrassment and shame again. I do not want to waste my family’s years in limbo land. I want
to be able to actually spend quality time and not waste another moment. Had I made better
choices, I would have had another baby by now; a chance forever lost and forever ingrained in
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my sea of regrets. I also know that I definitely thrive best with a peace of mind as I saw how
incapacitated and physically exhausted I was with every legal aspect of this.

        And yet, I was able to be fervently entrenched with the hopes that during the bond
release, the courts would see that I was motivated to work hard for my family and to show my
greater intention to reform and reintegrate with society. I started finding jobs, working on
marketing/consulting deals, but most could only be short term things due to my situation.
However, I found out I was most passionate about working next to my wife to build a reputable
nail salon built on high values and doing things the right way. During the past 1.5 years, we’ve
turned the store from a 1.5 star Yelp review to a 4 star Yelp review. In tandem, I worked and
studied very hard applying what I learned from crypto and transitioned into the stock market so I
could show the courts that I was working toward a completely new direction in trading. There
were also some businesses I wanted to start from scratch but quickly stopped along the way
every time I realized I still needed to face incarceration.

        I sincerely apologize to everyone for my blunder and thank everyone for helping me
through this transition. I want to thank my attorney for shedding a lot of light about the laws and
the many ways I went wrong. I am grateful for finally getting some closure for my mistakes and
look forward to starting the next chapter of my life–a life of no skeletons, a lesson most valuable
as I watch the political landscape, the investigations of well known figures, as well as the
blockchain itself. I definitely do not want my whole life crashing down again 20 years from now
because of something I did in the past. I hope to be reborn better from this experience, work
hard to redeem myself, atone for my errors, and prove I’m worthy of my given name.

       And although I aspire to help others and contribute to the community, I first must prove to
the courts, to my family, and to myself that I can build a strong, valid, and legitimate foundation,
as well as legal understanding, from which to better serve humanity. My story may prove
valuable one day and inspire people while deterring those heading the wrong path as I have
done.

        I remain faithful that the courts have heard and taken everything into consideration and I
am ready and willing to accept your punishment, Your Honor. And although I know any time
served in prison rather than serving my family and the community will be feel like a lifetime to
me, you can be rest assured that I’ve already made up my mind and am eager to atone for my
sins so I may start anew and build a better future with a solid foundation built on following not
just the law, but also the spirit of the law of the land as well. Soon enough, I’ll be able to return
my standing as one of the “Good guys.” I am sorry, I am sorry, I am sorry. Please forgive me.
This will never happen again. Thank you, Your Honor.




Sincerely,

Hung Quang Duong
